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* Attach additional pages as needed.

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Kwik Kar /Guidc Star Summons in a Civil Action

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SERVE Kwik Kar/Guidc Star c/o l`onner owners Rayil Sajan and/or Munira A|i-Sajan
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1502 Milla Ct., Eulcss, TX 76039

 

 

 

 

 

 

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AO 440 (Rev. IZN9) Summons in a Civil Action (Page 2)
civil Accion No. 3;18-¢v-00532-B

PROOF OF SERVICE

(This section should not be f` led with the court unless required by Fed. R. C'iv. P. 4 (I))

was received by me on (dale)

Thissummonsfor(name flndividualandlille,ifmg/) %@‘/l/Sa)ov` /MV"'/” A,"S q\o“"
Ag l 1€,1’>10/5’

Mpersonally se ed the summons on the individual at (place) %6' / ) / 5 6 | 0 \/\ a‘/'
/SQM //6 1, Ey/F£$ ;7:)( lon(date) VA'W/)l 011/7.370/‘3; 01'

I_ l led the summons at the individual's residence or usual place of abode with (name) f
, a person of suitable age and discretion who resides there,

 

 

 

 

 

 

 

 

 

on (date) , and mailed a copy to the individual's last known address; or
l_ I served the summons on (name ofindividua!) v . who is designated
by law to accept service of process on behalf of (name of argani:ation)
on (date) ; or

l'_ I returned the summons unexecuted because ; or _
I_ other (specif$))

// la (p 5 00 v76 g d

My fees are $ ' for travel and $ ' for services, for a total of $ '

l declare under penalty of perjury that this information is true.

aaa A,Qk; l 57‘/,,70/,~2 /Q%»J%

 

 

(SJrver's signature
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Server's address

Additional information regarding attempted service, etc:

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Case 3:18-cV-00532-B Document 33 Filed 08/15/18 Page 4 of 4 Page|D 82

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

Dallas Division

 

 

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sheridan shelby §
Plaimiff §
v. § Civil Acrion NO. 3:18-¢\'-532-13
§
§
§
Kwik Kar/Guide Star §
Defendant §
CLERK'S ENTRY OF DEFAULT

The record reflects that service of the complaint has been made upon the Defendant
named below:

Kwik Kar/Guide Star

 

It appears from the record that service of the complaint has been made, that the Defendant
has failed to answer or othem'i`-se defend as directed within the time allowed, and that the Plaintiff
has shown that failure through affidavit or otherwise `

Therefore, upon Plaintiffs request, DEFAULT is entered against the Defendant
named above.

KAREN S. MITCHELL, CLERK
U.S. DISTRICT COURT

s/ K. Cheng
By: Deputy Clerk on 7/6/2018

